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AO 245B (Rev. 10/15) Judgment in a Criminal Case
                     Sheet 1


                                                                                                                            ~UL 21 2016


                                                                           )
               UNITED STATES OF AMERICA                                   )         JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                      CHRISTOPHER MINOR                                   )
                                                                          )
                                                                                    Case Number: 4: 14CR00067-001 SWW
                                                                          )         USM Number: 28595-009
                                                                          )
                                                                          )          CHRISTOPHE A. TARVER (appointed)
                                                                          )         Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         1 of the indictment

0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 18 u.s.c. § 286                   Conspiracy to defraud the United States,                                  2/10/2011
                                   a Class C Felony



       The defendant is sentenced as provided in pages 2 through         __5 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)
Ill Count(s)      3, 6, 7                               0 is      Ill are dismissed on the motion of the United States.
                ------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          7/19/2016
                                                                         Date oflmposition of Judgment


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                                                                         Signature of~~
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                                                                                                             '""'+




                                                                          U.S. DISTRICT JUDGE SUSAN WEBBER WRIGHT
                                                                         Name and Title of Judge




                                                                         Date
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        Sheet 4-Probation
                                                                                                             Judgment-Page       2    of         5
 DEFENDANT: CHRISTOPHER MINOR
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                                                                   PROBATION
 The defendant is hereby sentenced to probation for a term of :

 THREE (3) YEARS.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as direc~ed by the probation offi~er, the Burea1:1 of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a quahfymg offense. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fme or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of fhis judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
   6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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        Sheet 4A - Probation
                                                                                             Judgment-Page    3     of        5
DEFENDANT: CHRISTOPHER MINOR
CASE NUMBER: 4:14CR00067-001 SWW

                                                   ADDITIONAL PROBATION TERMS
 1. Defendant shall disclose all assets (including unexpected financial gains) and liabilities to the probation office. The
 defendant shall not transfer, sell, giveaway, or otherwise convey any asset without approval from the probation office
 unless all criminal penalties have been satisfied.

 2. Defendant shall not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 3. Defendant shall maintain or be actively seeking employment.

 4. Defendant shall not prepare tax returns for other individuals and shall not work for anyone that prepares tax returns for
 other individuals.

 5. The defendant will participate in a cognitive behavioral program under the guidance and direction of the probation
 office.
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AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment- Page   ---"4- of           5
 DEFENDANT: CHRISTOPHER MINOR
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                                                   CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                                                             Restitution
 TOTALS              $    100.00                                        $                                   $    14,074.00


 D The determination ofrestitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

el      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximate}}" proportioned paYJ!l:ent, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

  Name of Payee                                                               Total Loss*        Restitution Ordered Priority or Percentage
      Payment to U. S. District Court for distribution to:

      IRS-RACS, Attn: Mail Stop 6261, Restitution,                                                         $14,074.00

    333 W. Pershing Ave., Kansas City, MO 64108




TOTALS                                                                                          14,074.00


D        Restitution amount ordered pursuant to plea agreement $
                                                                            ----------
 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Ill      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         Ill the interest requirement is waived for the        D fine       Ill restitution.
         D the interest requirement for the         D   fine    D restitution is modified as follows:

*Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and l 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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        Sheet 6 - Schedule of Payments

                                                                                                                 Judgment - Page             of
 DEFENDANT: CHRISTOPHER MINOR
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZl Lump sum payment of$ _1O_O_.o_o_ _ __ due immediately, balance due

            D      not later than                                     , or
            i;zi   in accordance         0    C,     0    D,     O     E, or     l;tl F below; or
 B     D    Payment to begin immediately (may be combined with                 D C,        D D, or       D F below); or
 C     O Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D Payment during the term of supervised release will commence within                                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     '21 Special instructions regarding the payment of criminal monetary penalties:
             The restitution imposed is payable during defendant's term of probation. Beginning the first month of probation,
             payments will be 10% per month of defendant's monthly gross income.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet?T.Y penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Ill   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

        Restitution as to 4:14CR00067-001Christopher Minor shall be joint and several with any other person who has been or
        will be convicted on an offense for which restitution to the same victim on the same loss is ordered.


 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




PaYI_!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
